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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
P. H. GLATFELTER COMPANY,                :   Civil No. 1:19-CV-02215
                                         :
           Plaintiff,                    :
                                         :
           v.                            :
                                         :
BABCOCK & WILCOX POWER                   :
GENERATION GROUP, INC.,                  :
                                         :
           Defendant.                    :   Judge Jennifer P. Wilson

                                    ORDER

     AND NOW, on this 14th day of December, 2020, for the reasons set forth in

the accompanying memorandum, IT IS ORDERED THAT:

     1. Plaintiff’s claims for fraud and negligent misrepresentation will be

        dismissed without prejudice to Plaintiff amending its complaint;

     2. Plaintiff’s claims for promissory estoppel and unjust enrichment will not

        be dismissed;

     3. The court declines to make a determination regarding the enforceability

        and extent of a contractually-imposed cap regarding Plaintiff’s damages

        claims before it has determined whether the parties’ underlying contract

        is valid. However, in the event that the parties’ contract is found to be

        valid, the court finds that Plaintiff’s claims for damages will be limited




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  by the terms of the parties’ contract as explained in this memorandum;

  and

4. “Babcock & Wilcox Power Generation Group, Inc.” will be dismissed

  from this case, but out of an abundance of caution, “Babcock & Wilcox

  Enterprises, Inc.” will remain in this case. The parties may stipulate to

  whether this entity remains subject to this litigation, or Defendant may

  re-raise this issue at a later time once the parties have the benefit of

  discovery in this case.

                                       s/Jennifer P. Wilson
                                       JENNIFER P. WILSON
                                       United States District Court Judge
                                       Middle District of Pennsylvania




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